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                       IN THE UNITED STATES DISTRICT COURT FOR THE
                               EASTERN DISTRICT OF VIRGINIA

                                           Alexandria Division


UNITED STATES OF AMERICA                          )
                                                  )
                  v.                              )       Criminal No. 1:18-CR-457 (AJT)
                                                  )
BIJAN RAFIEKIAN, et al.                           )
                                                  )
                          Defendants.             )


                      GOVERNMENT’S MOTION IN LIMINE TO EXCLUDE
                    DEFENDANT’S INADMISSIBLE HEARSAY STATEMENTS

           The government hereby moves in limine to exclude any self-serving hearsay statements

of the defendant, Bijan Rafiekian, that are offered by the defense and elicited through various

witnesses at trial. The government anticipates that the defense may seek to introduce self-

serving hearsay statements Rafiekian made to various government witnesses while cross-

examining those witnesses, and may also seek to introduce self-serving hearsay statements of the

defendant through their own witnesses.        As discussed below, the government intends to

introduce into evidence a number of Rafiekian’s inculpatory statements pursuant to Federal Rule

of Evidence 801(d)(2) 1, but no rule permits Rafiekian to introduce his own out-of-court

statements without subjecting himself to cross-examination.

      I.      Rafiekian’s Self-Serving Hearsay Statements Are Inadmissible

           During the course of pre-trial hearings in this case, the defense has suggested that it



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  While this motion primarily focuses on the defendant’s statements as Admissions of a Party
Opponent under FRE 801(d)(2)(A), the government is not conceding other evidentiary bases for
also admitting this evidence including, but not limited to, Rule 801(d)(2)(B)(Adoptive
admissions) and 801(d)(2)(E)(co-conspirator statements).

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intends to offer the defendant’s self-serving hearsay statements during trial. For example, the

defense has described how it could point out the numerous instances where the defendant

claimed to various witnesses that the client for the Gulen Project was, not the government of

Turkey, but Ekim Alptekin’s company in the Netherlands, Inovo BV. Similarly, the defense has

indicated that it may well call Robert Kelley to testify about a conversation that he had with the

defendant that, the defense claims, is relevant to an advice of counsel defense. 2

        Rule 801(d)(2)(A) permits the government to introduce a defendant’s statements as

admissions of a party-opponent. Such statements are not considered hearsay, and therefore can

be admitted against a defendant. United States v. Wilkerson, 84 F.3d 692, 696 (4th Cir. 1996).

In contrast, a defendant may not introduce his own out-of-court statements without testifying at

trial. See id. at 696 (holding that the Federal Rules of Evidence do not “provide an exception for

self-serving, exculpatory statements made by a party which are being sought for admission by

that same party”); see also United States v. Hassan, 742 F.3d 104, 135 (4th Cir. 2014)

(“[Defendant]’s excluded statements, though possibly exculpatory, do not fall within any hearsay

exception that would authorize their admission into evidence.”). Otherwise, a defendant could

place his statements “before the jury without subjecting himself to cross-examination, precisely

what the hearsay rule forbids.” United States v. Ortega, 203 F.3d 675, 682 (9th Cir. 2000).


2
  In its Motion In Limine to Preclude the Defendant from Presenting Evidence of Argument on
Advice of Counsel or the Lobbying Disclosure Act (Dkt. 127) at p.p. 7-8, the government
explicitly argued that having Robert Kelley testify about what the defendant told him in
conversation, was inadmissible hearsay. The defense responded in its Opposition to the
Government’s Motion In Limine to Preclude the Defendant from Presenting Evidence of
Argument on Advice of Counsel or the Lobbying Disclosure Act (Dkt. 156) at p.p. 12-15 that the
Court should defer ruling on this issue until trial. So as to the proposed testimony of Robert
Kelley, this is an issue that will need to be resolved at trial. And if, as it has indicated, the
defense attempts to offer a written declaration of Robert Kelley in lieu of his live testimony, this
would present another level of inadmissible hearsay, and the government would also object to
that evidence.

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         The reason for the limitation set forth in Rule 801(d)(2) is clear: the government may not

compel a defendant to testify at trial and therefore can only introduce his statements through a

third party; the defendant, however, is in control of the decision whether or not to testify and

therefore retains the freedom to rebut any of his prior statements by taking the stand. A contrary

rule would allow a defendant to make exculpatory statements to third parties before trial, and

then either to cross-examine government witnesses about those exculpatory statements, or to call

the third parties at trial—in effect allowing the defendant to testify without facing the risk and

truth-seeking benefits of cross-examination.

         The traditional hearsay requirement that extra-judicial assertions be excluded is based

upon the premise that there would be no opportunity for the opponent to cross-examine the

declarant. 2 George E. Dix et al., McCormick On Evidence § 254 (7th ed. 2016). However,

when the statement was made by the opponent, the opponent has no need to cross-examine

herself. Id. Furthermore, the opponent has the opportunity to take the stand and explain her

statements. Id. Conversely, when a defendant’s prior statement is being offered against the

government, the government would not have the opportunity to cross-examine the defendant

about the statement, nor would it have the ability to call the defendant as a witness to question

her about the statement. Id.



   II.      The Rule of Completeness Does Not Render
            Rafiekian’s Hearsay Statements Admissible

         Federal Rule of Evidence 106 provides a limited exception to the rule that a defendant

may not elicit his own hearsay statement. Rule 106 states that “[i]f a party introduces all or part

of a writing or recorded statement, an adverse party may require the introduction, at that time, of

any other part—or any other writing or recorded statement—that in fairness ought to be

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considered at the same time.” Fed. R. Evid. 106 (emphasis added).

        Importantly, however, “the rule of completeness does not render admissible . . . evidence

which is otherwise inadmissible under the hearsay rules.” Hassan, 742 F.3d at 134 (quoting

United States v. Lentz, 524 F.3d 501, 526 (4th Cir. 2008)) (internal quotation marks omitted).

Nor does the rule of completeness “require the admission of self-serving,

exculpatory statements made by a party which are being sought for admission by that same

party.” Id. (quoting Lentz, 524 F.3d at 526); see also Wilkerson, 84 F.3d at 696 (holding that

“even if, as [the defendant] claims, Rule 106 had applied to this testimony, it would not render

admissible the evidence which is otherwise inadmissible under the hearsay rules”).

        As noted above, Rule 106 is a very limited rule which applies only to written or recorded

statements. See, Advisory Committee Notes, 1972 Proposed Rules (“For practical reasons, the

rule is limited to writings and recorded statements and does not apply to conversations”). 3 At

trial, the government does intend to introduce a number of written or recorded statements of the

defendant, many of which are emails. However, in most instances, the government will

introduce the entire email, so Rule 106 would not even apply. And to the extent that the defense

contends that a written or recorded statement is incomplete, they can make an argument at that

time for what else should be included from a writing or recording “that in fairness ought to be

considered at the same time.” FRE 106.

        However, what the defense appears intent on introducing are the defendant’s self-serving

oral statements through various witnesses. The Rules of Evidence do not allow for such an


3
 The Fourth Circuit has held that the fairness standard does not permit a defendant to introduce
his entire recorded statement even when the government has only offered a portion of it. Rather,
the rule permits the introduction of those portions that (1) explain an admitted portion, (2) place
an admitted person in context, or (3) are necessary to avoid misleading the trier of fact. United
States v. Ricks, 882 F.2d 885, 892-893 (4th Cir. 1998).

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approach, because there do not appear to be any exceptions under the Federal Rules of Evidence

that would allow such plainly inadmissible hearsay to be admitted. While a specific Rule of

Evidence, Rule 801(d)(2)(A), permits the introduction of the defendant’s communications as

admissions of a party-opponent, as discussed above, Rafiekian may not seek to rebut this

evidence by introducing his self-serving statements because no hearsay exception permits their

admission, the rule of completeness does not render admissible evidence that is otherwise

inadmissible, and fundamental fairness requires that a defendant’s testimony be subject to cross-

examination. See, e.g., Hassan, 742 F.3d at 134–35 (upholding exclusion of defendant’s

exculpatory statements under Rule 106 because they were inadmissible hearsay); Wilkerson, 84

F.3d at 696 (holding that the government was entitled to introduce the defendant’s inculpatory

statements as admissions under Rule 801(d)(2)(A), but that the defendant could not introduce

exculpatory portions of the same statements under Rule 106 because they were inadmissible

hearsay). If Rafiekian wants to offer testimony concerning his conduct or intent, he can do so by

taking the stand at trial, subjecting himself to cross-examination, and permitting the jury to

weigh his credibility.




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                                         CONCLUSION

       For the foregoing reasons, the government respectfully requests that the Court exclude

from trial any hearsay statements of Rafiekian that are offered by the defense and elicited

through government witnesses or defense witnesses.



                                                       Respectfully submitted,

                                                       G. ZACHARY TERWILLIGER
                                                       UNITED STATES ATTORNEY


                /s/                              By:                /s/
 Evan N. Turgeon                                       John T. Gibbs
 Trial Attorney                                        Virginia Bar No. 40380
 Counterintelligence                                   James P. Gillis
    and Export Control Section                         Virginia Bar No. 65055
 National Security Division                            Assistant United States Attorneys
 United States Department of Justice                   S. Katie Sweeten
 950 Pennsylvania Ave., NW                             Special Assistant United States Attorney
 Washington, DC 20530                                  The Justin W. Williams
 (202) 353-0176                                            United States Attorney=s Office
 Evan.Turgeon@usdoj.gov                                2100 Jamieson Avenue
                                                       Alexandria, VA 22314
                                                       (703) 299-3700
                                                       (703) 299-3982 (fax)
                                                       John.Gibbs@usdoj.gov
                                                       James.P.Gillis@usdoj.gov




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                                     CERTIFICATE OF SERVICE

       I hereby certify that on July 9, 2019, I electronically filed the foregoing using the

CM/ECF system, which will send a notification of such filing to counsel of record.

                                              Respectfully submitted,


                                                     /s/
                                              John T. Gibbs
                                              Assistant United States Attorney




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